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                                            May 21, 2021

BY ELECTRONIC FILING
The Honorable Leonard P. Stark
United States District Court
District of Delaware
J. Caleb Boggs Federal Building
844 N. King Street
Wilmington, Delaware 19801

       Re:    Crystallex International Corp. v. Bolivarian Republic of Venezuela,
              C.A. No. 1:17-mc-00151-LPS

Dear Chief Judge Stark:

        Pursuant to the Court’s May 11, 2021 order, we write on behalf of Petróleos de Venezuela
S.A. (“PDVSA”) in response to the May 19, 2021 letters to the Court concerning the proposed
special master order. PDVSA agrees with the positions taken by PDV Holding, Inc. and CITGO
Petroleum Corporation in their letters dated May 19, 2021 (D.I. 267) and May 21, 2021 (D.I. 269).


                                               Respectfully submitted,

                                               /s/ Samuel T. Hirzel

                                               Samuel T. Hirzel (#4415)
                                               Counsel for Petróleos de Venezuela, S.A.


STH/cmw
cc: All Counsel of Record (via e-filing/e-mail
